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                                   UNITED STATES DISTRICT COURT
                                   EASTERN DISTRICT OF LOUISIANA

     LASHAWN JONES, ET AL.                                    *         CIVIL ACTION

     v.                                                       *         NO. 12-0859

     SUSAN HUTSON, ET AL.                                     *         SECTION: “I” (5)


                      REPLY MEMORANDUM IN SUPPORT OF
           MOTION TO STAY JAIL CONSTRUCTION ORDERS PENDING APPEAL

           As a matter of federal law, a district court cannot order the construction of a jail, nor can it

enforce a private settlement agreement to construct a jail. See 18 U.S.C. §§ 3626(a)(1)(C), (c)(2),

and (g)(6). When a district court tries to do so, it affronts federalism and comity. Sheriff Hutson’s

appeal presents res nova legal issues and a substantial case on the merits. The equities weigh

heavily in favor of staying this Court’s orders to build the Phase III jail so that the status quo may

be preserved while the Fifth Circuit reviews this Court’s order to build the Phase III jail. The

Plaintiffs’ and the United States’ oppositions present a starkly contrasting interpretation of the

PLRA—that it does permit federal courts to order the construction of a jail (as the district court

has done in this case). This Court should grant Sheriff Hutson’s stay and preserve the status quo

until the Fifth Circuit addresses this substantial legal issue.

I.         Sheriff Hutson’s appeal presents a substantial case on the merits.

           A.      Sheriff Hutson’s appeal presents res nova legal questions regarding the
                   PLRA’s limits on new jail construction.

           Sheriff Hutson need only show that her appeal presents a substantial case on the merits at

this stage. See Ruiz v. Estelle, 650 F.2d 555, 566 (5th Cir. 1981). Sheriff Hutson maintains and this

Court has acknowledged that the PLRA1 recognizes only two types of “settlements”: (1) consent


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    In this Reply Memorandum, Sheriff Hutson uses the same defined terms as in her stay motion.
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decrees and (2) private settlement agreements. Doc. 1648, p. 9. An agreement to build the Phase

III jail, as prospective relief to resolve this dispute, must arise from one or the other. Further,

enforcement requires that a court order the parties to comply with either its entered consent decree,

i.e., its prior order, or their private settlement. See, e.g., Rowe v. Jones, 483 F.3d 791, 797-99 (11th

Cir. 2007) (analyzing whether “orders” establishing plan for charitable trust were “consent

decrees” or “private settlement agreements”).

        The PLRA places “bounds” on this enforcement authority. Ball v. LeBlanc, 881 F.3d 346,

348 (5th Cir. 2018) (Smith, J.). A federal court may not order the construction of prisons (or

levying of taxes) as prospective relief in prison reform litigation. See 18 U.S.C. § 3626(a)(1)(C).

Likewise, although parties may agree to construct a prison, a federal court may not enforce their

private settlement agreement. See 18 U.S.C. §§ 3626(c)(2), (g)(6). “[W]hat a court cannot do by

final order in a contested case it also cannot do by the parties’ consent (that’s the effect of

combining § 3626(c)(1) and (2) with § 3626(g)(1) and (6)).” Doe v. Cook Cty., Ill., 798 F.3d 558,

563 (7th Cir. 2015).

        This Court’s O&R directly contradicts these fundamental principles of the PLRA, which

Congress enacted explicitly to curb the remedial authority of federal district courts in prison reform

litigation and, thereby, restore control to the states. See Gilmore v. California, 220 F.3d 987, 991,

999 (9th Cir. 2000). As the Fifth Circuit has recognized, “[t]he PLRA greatly limits a court’s ability

to fashion injunctive relief.” Ball, 792 F.3d at 598; see also Miller v. French, 530 U.S. 327, 338

(2000) (With the PLRA, “Congress intended to prohibit federal courts from exercising their

equitable authority . . . .”).

        This Court, the Plaintiffs, and the United States seek to rewrite the PLRA by fashioning a

“hybrid” gray area between “consent decrees” and “private settlement agreements”—something

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that is somehow neither an “order” nor a “private settlement agreement” and, thus, falls outside

the PLRA’s express limits on federal court authority.

       Sheriff Hutson’s appeal presents substantial legal issues concerning whether the PLRA

allows such a “hybrid” gray area and whether a district court may so characterize its orders to

avoid the PLRA’s limitations. This Court cited the parties’ agreement to build the Phase III jail

as its rationale in denying the City’s 60(b) Motion: “First and foremost, the Court has never ordered

the City to build a jail.” Doc. 1385, p. 30. But a private settlement agreement between the parties

cannot be enforced by the federal court. See 18 U.S.C. §§ 3626(c)(2), (g)(6). If the agreement to

build the jail is construed as part of the Consent Judgment, i.e., a consent decree, this Court also

cannot enforce it because of the PLRA’s prohibition against “order[ing] the construction of

prisons.” See id. § 3626(a)(1)(C). The PLRA’s restrictions cannot be subverted by the invention

of a “hybrid” approach that exists nowhere in the federal statute.

       B.      The equities weigh heavily in favor of a stay.

       The Plaintiffs and United States disregard the harm that Sheriff Hutson will suffer, as the

keeper of the proposed Phase III jail, absent a stay. In effect, they argue that the “Sheriff’s Office”

will not be harmed because former-Sheriff Gusman favored the jail. The Sheriff will have to divert

already scarce resources to staff and maintain a new facility. Denying a stay will also prevent

Sheriff Hutson from achieving constitutional compliance by means other than Phase III. Sheriff

Hutson is not, as suggested, “avoid[ing] [her] obligation to provide a constitutionally-adequate

jail.” Doc. 1663, p. 17. Indeed, the most recent monitors’ report noted the Sheriff’s progress in her

first year of office to reach compliance, and the monitors remain “hopeful that improvement will

take place.” Doc. 1623, pp. 5, 6, 10, 12, and 19. The monitors recognize that “Sheriff Hutson has

embraced the challenge of complying with the Consent Judgment . . . .” Id., p. 18.

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       The Plaintiffs ask this Court to ignore the harm that denying a stay will cause to the

residents of the City, see, e.g., Doc. 1663, pp. 16-17, by re-allocating and spending over $100

million previously earmarked for vital public works projects to build a poorly designed new jail

that will harm the jail’s mental health inmates with its “medieval” panopticon design. Sheriff

Hutson has proposed a less costly and more effective alternative for meeting the needs of OJC’s

mental health inmates. This Court has not adequately considered the current cost of Phase III or

these alternatives.

       Further, the United States argues that the “public interest merges with the interest of the

federal government,” Nken v. Helder, 556 U.S. 418 (2009), and that the public interest factor

should automatically weigh in favor of the United States. Doc. 1662, p. 10. Nken merely held that,

once the first two factors are satisfied, the court must weigh the harm to the opposing party and

the public interest, which merge when the opposing side is the government. See id. at 435. Sheriff

Hutson is also part of the government—having been elected to office by a majority of the voters—

and the federal government does not always speak for the public, particularly for state or local

government, whose prerogatives in the correctional arena the PLRA protects. Moreover, opposing

counsel avert their eyes from the public harm inflicted by violating a federal statute, the PLRA,

whose very purpose was to prevent federal courts from “micromanaging,” i.e., ordering a new jail,

in state and local correctional systems. Here, the first two factors weigh in favor of a stay, and the

Plaintiffs and the United States have not shown that the third or fourth factors outweigh them. The

equities weigh heavily in favor of staying this Court’s orders to build the Phase III jail so that the

Fifth Circuit may consider important legal issues regarding the proper interpretation and

application of the PLRA before substantial funding and construction of the new jail proceed. See

Dayton Bd. of Educ. v. Brinkman, 439 U.S. 1358, 1359 (1978).

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II.     Sheriff Hutson’s appeal is procedurally proper.

        Sheriff Hutson’s appeal is procedurally proper because the Fifth Circuit has appellate

jurisdiction, Sheriff Hutson is authorized by 18 U.S.C. § 3626(b)(1) to move to terminate the jail

orders, and the law of the case doctrine does not bar Sheriff Hutson’s Motion to Terminate.

        Appellate jurisdiction to review the legal issues created by this Court’s O&R is not a

“significant obstacle.” Doc. 1663, p. 14. The Fifth Circuit has jurisdiction under 28 U.S.C. §

1292(a)(1) to consider Sheriff Hutson’s appeal of issues under §§ 3626(a)(1)(C) and 3626(c)(2),

(g)(6). Sheriff Hutson seeks to terminate this Court’s orders to build Phase III based on these PLRA

provisions. Appellate courts have reviewed similar appeals concerning motions to terminate

brought under these provisions. See, e.g., Rowe, 483 F.3d at 791 (reviewing, on appeal, whether

relief was entered pursuant to consent decree or private settlement agreement).

        In particular, § 3626(b)(1) allows Sheriff Hutson to move to terminate relief that violates

the PLRA after one or two years, depending on the type of relief ordered. The Plaintiffs argue, for

the first time, that a party may not terminate “relief” that is ordered in violation of 18 §§ 3626(c)(2),

(g)(6) because the PLRA does not include “private settlement agreements” in the definition of

“relief.” Doc. 1663, p. 13. Yet, Plaintiffs claim there are no “private settlement agreements.” Doc.

1663, p. 2 n.9. Plaintiffs’ argument is circular, and further ignores that Sheriff Hutson also moved

to terminate the relief under 18 § 3626(a)(1)(C). Plaintiffs’ muddled new argument is baseless.

        The United States argues, for the first time, that a party may terminate relief under §

3626(b) only if it was not entered with the requisite “need-narrowness-intrusiveness” findings of

§ 3626(a)(1)(A). Doc. 1662, p. 6 n. 3. Sheriff Hutson has not sought relief under § 3626(b)(2),

however, which governs the “need-narrowness-intrusiveness” findings. Rather, Sheriff Hutson has




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invoked § 3626(b)(1), which does not contain the limitation the United States cites. The United

States’ new argument is baseless.

         The law of the case doctrine also does not preclude Sheriff Hutson’s argument on appeal.

Only an appellate decision on the merits at issue establishes law of the case. “[A]n issue that is not

expressly or implicitly decided on appeal does not become part of the law of the case.” Med. Ctr.

Pharmacy v. Holder, 634 F.3d 830, 834 (5th Cir. 2011). The Fifth Circuit did not decide the merits

of the City’s PLRA argument under § 3626(a)(1)(C) in Anderson v. City of New Orleans, 38 F.4th

472 (5th Cir. 2022).2 Moreover, Sheriff Hutson’s argument under §§ 3626(c)(2), (g)(6) presents a

new legal issue in this litigation that the law of the case doctrine does not bar: Whether the PLRA

prohibits federal courts from ordering the construction of a new jail. This Court should grant a stay

to preserve this important res nova legal issue for resolution on appeal by the Fifth Circuit.

III.     Conclusion

         For the foregoing reasons, a stay pending appeal should be granted.


                                                       Respectfully submitted,


                                                        /s/ John S. Williams
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   Contrary to Plaintiffs’ arguments, Doc. 1663, pp. 9-10, 15 n.87, judicial estoppel and laches do not bar Sheriff
Hutson’s argument or appeal. Plaintiffs cite no cases applying judicial estoppel to a newly substituted successor
official. As with Rule 25(d), if Plaintiffs were correct, a successor official could never move to terminate relief under
the PLRA or modify a consent decree based on changes circumstances. Judicial estoppel requires an “internal
inconsistency” or “intentional self-contradiction,” which Sheriff Hutson’s position concerning the enforceability of
her predecessor’s agreement does not present. Furthermore, Plaintiffs cite no case applying laches, an affirmative
defense, to bar a successor official from moving to terminate relief under the PLRA. Sheriff Hutson’s motion is not
untimely or unreasonably delayed under the PLRA, which contains no statute of limitations. Moreover, the PLRA
expressly provides alternative means of responding to a termination order, so no party is prejudiced. See 18 U.S.C. §
3626(c)(2) (permitting state-court action or reopening of federal proceedings).
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